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                            United States District Court for the Southern District of Iowa

Presiding: Honorable Chief Judge John A. Jarvey
Criminal No. 3:19-cr-79-2                     : Clerk’s Court Minutes – Sentencing
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UNITED STATES OF AMERICA VS. Benjamin David Watkins
_______________________________________________________________________________________________________________________________________

Gov. Atty(s): Andrea Glasgow                              : ✔ Indictment       Superseding Indictment                 Information
Def. Atty(s): Jack Dusthimer                              : In 2 Count(s) – Code Violation:
Court Reporter: Tonya Gerke                               : 1, 3: 18 U.S.C. § 2113(a), (d)
Interpreter:                                              :
___________________________________________________________

Date: 7/9/2020                                            :
Time Start: 9:35          Time End: 9:59                  :
_______________________________________________________________________________________________________________________________________

✔ Defendant reaffirmed guilty plea to Count(s) 3                                   : ✔ Court adopted findings of Final PSR
    Jury           Court guilty verdict to Count(s)                                :   Final PSR as amended
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Minutes:
Government present. Defendant is present with counsel for sentencing. Parties discuss PSR, 9:35-. Court accepts PSR as factually
accurate as to all material matters. Defense presents argument as to role adjustment, 9:37-9:39. Government responds, 9:39-9:40.
Court rules, 9:40-9:40. Colloquy between court and government regarding offense conduct, 9:40-9:41.

Total Offense Level = 22; Criminal History Category = I; Guideline Imprisonment Range = 41-51 months.

Defense presents argument regarding appropriate sentence, 9:41-9:49. Defendant allocutes, 9:49-9:52. Government presents argument
regarding appropriate sentence, 9:52-9:54. Victims do not wish to be heard. Court pronounces sentence, 9:54-9:59. Defendant is
advised of appeal rights, 9:59. Court in recess, 9:59.




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Sentence Imposed:
Defendant is sentenced to the custody of the BOP for 36 months. Three-year term of S/R to follow. No fine. $100 Special Assessment
to Crime Victims Fund.

Count 1 dismissed on government motion. Court recommends that the defendant be made eligible for RDAP and that the defendant
receive vocational training, particularly for HVAC.

Defendant is remanded into the custody of the United States Marshal.




                                                                                          Gregory G. Peterson
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                                                                                          Deputy Clerk
